Case 2:05-cr-20055-SHI\/| Document 23 Filed 06/03/05 Page 1 of 2 Page|D 21

IN THE UNITED STATES DISTRICT COURTF"_ED E-T. '
FOR THE WESTERN DISTRICT OF TENNESSEE " _`

 

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V. Cr. NO. 05-20055_1)
TAVARIS BoorHE

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

Counsel for the defendant, via telephone, requested a week'S continuance of this matter as
final arrangements for retention have just been completed, and counsel must explore a potential
conflict with the defendants new indictmentl Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. § 316I(h)(8)(B)(iv), a defendant may be granted a period of excludable delay to allow
continuity of counsel.

IT IS THEREFORE ORDERED that the time period ol"June l, 2005 through June 8, 2005
be excluded from the time limits imposed by the Speedy Trial Act for trial of this case, to allow the
defendant continuity of counsel

ARRAIGNMENT IS RESET TO WEDNESDAY, June 8, 2005 at 9:30 a.m. BEFORE
MAGISTRATE JUDGE TU M. PHAM.

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U.S. Magistrate Judge

Date: %HM,( 001 loaf-
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This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20055 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

